                      UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL MILLER,                         :       Civ. No. 1:24-CV-14
                                        :
        Plaintiff,                      :       (Judge Wilson)
                                        :
        vs.                             :       (Magistrate Judge Carlson)
                                        :
LANCASTER COUNTY, et al.,               :
                                        :
        Defendants.                     :

                             MEMORANDUM OPINION

   I.         Introduction

        This case, which comes before us for consideration of the defendants’ motions

for sanctions, (Docs. 48 and 67), presents the following question: When does pro se

persistence become vexatious sanctionable misconduct? In this case, the pro se

plaintiff, Michael Miller, has followed an increasingly erratic, feckless course as he

tries to relitigate his rejection by the voters in Lancaster County. These efforts

embrace litigation in multiple forums, state and federal, but to date share a common

theme—every effort by Miller to relitigate the outcome of this election has been

rejected by the courts.

        On these facts, we find that Miller’s litigation in this case perilously

approaches sanctionable misconduct under Rule 11 of the Federal Rules of Civil

Procedure. However, acting out of an abundance of caution, and acknowledging
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Miller’s pro se status, in the exercise of our discretion we will decline this invitation

to impose monetary sanctions upon the plaintiff at this time. However, we place

Miller on notice that he may be subject to sanctions if he continues to persist in the

problematic pursuit of what he has been informed are meritless claims.

   II.      Factual Background and Procedural History

         According to the complaint which he filed in federal court, Michael Miller is

a disappointed aspirant for public office. Miller’s aspirations, however, were dashed

when the voters spoke and selected another candidate. In what has become a

distressingly common response to the will of the electorate, Miller apparently

concluded that the outcome of the election did not reflect the public’s verdict on his

candidacy, but rather was the product of some nefarious cabal. Miller then launched

upon a quixotic quest to discover some reason for his electoral defeat beyond the

fact that voters simply did not favor his candidacy.

         As Miller explained in his complaint: “On May 17, 2022, Miller contested for

Pennsylvania State Senate District 36 in an election held in Lancaster County,

Pennsylvania.” (Id., ¶ 13). Miller alleges that there were irregularities in the printing

and processing of mail-in ballots in this election. (Id., ¶¶ 14-20). According to the

plaintiff, he filed state Right to Know law requests with local officials in support of

his efforts to publicize these alleged election anomalies. (Id., ¶¶ 19-22). These

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requests were denied, in part, and Miller began a multi-facetted legal foray seeking

review of this decision from the Commonwealth of Pennsylvania Office of Open

Records, the Pennsylvania Commonwealth Court, and the Court of Common Pleas

of Lancaster County. (Id., ¶¶ 22-73). Dissatisfied with the pace and outcome of this

state litigation of his state Right to Know law claims, on January 4, 2024, Miller

filed this lawsuit. (Id.) In his prayer for relief, Miller invited us to intervene in this

state litigation, address some twenty-three specific and detailed questions relating to

the processing of his state Right to Know law requests, 1 and enjoin the enforcement

of the state law. (Id., ¶¶ 74-107).

      The defendants immediately responded by filings motions to dismiss Miller’s

complaint. (Docs. 8 and 16). In addition, the defendants wrote to Miller on April 16,

2024, placing him on notice that they regarded his complaint as frivolous and subject

to sanctions under Rule 11 of the Federal Rules of Civil Procedure. (Doc. 48-1).

This correspondence demanded that Miller dismiss and withdraw his complaint

within twenty-one days or face a motion for sanctions. (Id.) In response, Miller

refused to withdraw his complaint, setting the stage for the filing of this sanctions

motion which was filed on May 8, 2024. (Doc. 48).


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 On this score Miller’s prayer for relief was curious and read like a series of detailed
interrogatories addressed not to the parties but rather to the Court. We, of course, do
not answer interrogatories.
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       We initially deferred action on this sanctions motion pending resolution of the

merits of Miller’s complaint since that sanctions motion was inextricably intertwined

with our merits consideration of this case. (Doc. 59, at 18). On June 20, 2024, we

filed a Report and Recommendation, which recommended that Miller’s complaint

be dismissed. (Doc. 59). The district court adopted this Report and Recommendation

on September 30, 2024, (Doc. 64), and Miller has appealed this decision. (Doc. 65).

That appeal remains pending.

       In the meanwhile, the defendants have renewed their sanctions motion, filing

a pleading styled as a motion to take judicial notice, (Doc. 67), which describes what

the defendants characterize as ongoing litigation misconduct by Miller in his

pending federal appeal along with the filing of a new, but nearly identical, lawsuit

in the United States District Court for the Eastern District of Pennsylvania on

October 5, 2024, within days of the dismissal of this case. (Doc. 68). Miller never

responded to this filing.

       These motions are now ripe for resolution. While we place Miller on notice

that, absent the reversal of our prior decision, in our view, further efforts to relitigate

these claims may likely subject the plaintiff to sanctions, we will deny the request

for Rule 11 monetary sanctions at this time.




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   III.   Discussion

      Several basic guiding principles inform our resolution of the instant sanctions

motion. By its terms, Rule 11 imposes an obligation upon litigants to refrain from

frivolous and vexatious litigation, and specifically provides that:

      By presenting to the court a pleading, written motion, or other paper--
      whether by signing, filing, submitting, or later advocating it--an
      attorney or unrepresented party certifies that to the best of the person's
      knowledge, information, and belief, formed after an inquiry reasonable
      under the circumstances:

      (1) it is not being presented for any improper purpose, such as to harass,
      cause unnecessary delay, or needlessly increase the cost of litigation;

      (2) the claims, defenses, and other legal contentions are warranted by
      existing law or by a nonfrivolous argument for extending, modifying,
      or reversing existing law or for establishing new law;

      (3) the factual contentions have evidentiary support or, if specifically
      so identified, will likely have evidentiary support after a reasonable
      opportunity for further investigation or discovery; and

      (4) the denials of factual contentions are warranted on the evidence or,
      if specifically so identified, are reasonably based on belief or a lack of
      information.

Fed. R. Civ. P. 11(b). Having imposed this duty of forthrightness, candor, and good

faith upon litigants, Rule 11(c) then provides for sanctions against parties who

indulge in baseless and frivolous litigation, stating that:

      (c) Sanctions.



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      (1) In General. If, after notice and a reasonable opportunity to respond,
      the court determines that Rule 11(b) has been violated, the court may
      impose an appropriate sanction on any attorney, law firm, or party that
      violated the rule or is responsible for the violation. Absent exceptional
      circumstances, a law firm must be held jointly responsible for a
      violation committed by its partner, associate, or employee.

      (2) Motion for Sanctions. A motion for sanctions must be made
      separately from any other motion and must describe the specific
      conduct that allegedly violates Rule 11(b). The motion must be served
      under Rule 5, but it must not be filed or be presented to the court if the
      challenged paper, claim, defense, contention, or denial is withdrawn or
      appropriately corrected within 21 days after service or within another
      time the court sets. If warranted, the court may award to the prevailing
      party the reasonable expenses, including attorney's fees, incurred for
      the motion.
      -------------------------------------------------------------------
      (4) Nature of a Sanction. A sanction imposed under this rule must be
      limited to what suffices to deter repetition of the conduct or comparable
      conduct by others similarly situated. The sanction may include
      nonmonetary directives; an order to pay a penalty into court; or, if
      imposed on motion and warranted for effective deterrence, an order
      directing payment to the movant of part or all of the reasonable
      attorney's fees and other expenses directly resulting from the violation.

Fed. R. Civ. P. 11(c).

      In determining whether to impose Rule 11 sanctions in a given case, we are

cautioned that:

      The     standard     developed      by    courts     for    imposition
      of sanctions under Rule 11 is stringent because such sanctions 1) are
      “in derogation of the general American policy of encouraging resort to
      the courts for peaceful resolution of disputes,” Eastway Construction
      Corp. v. City of New York, 637 F.Supp. 558, 564 (E.D.N.Y.
      1986), modified and remanded, 821 F.2d 121 (2d Cir.), cert. denied 484
      U.S. 918, 108 S.Ct. 269, 98 L.Ed.2d 226 (1987); 2) tend to “spawn
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      satellite litigation counter-productive to efficient disposition of
      cases,” Gaiardo, 835 F.2d at 482; and 3) “increase tensions among the
      litigating bar and between [the] bench and [the] bar.” Eastway
      Construction Corp., 637 F.Supp. at 564. This Court and others have
      interpreted its language to prescribe sanctions, including fees, only in
      the “exceptional circumstance”, Gaiardo, 835 F.2d at 483, where a
      claim or motion is patently unmeritorious or frivolous. See, e.g., Lieb
      v. Topstone Industries, Inc., 788 F.2d 151, 157 (3d Cir. 1986)
      (“Rule 11 therefore is intended to discourage pleadings that are
      ‘frivolous, legally unreasonable, or without factual foundation, even
      though the paper was not filed in subjective bad faith.’”)
      (quoting Zaldivar v. City of Los Angeles, 780 F.2d 823, 831 (9th Cir.
      1986)); Oliveri v. Thompson, 803 F.2d 1265, 1275 (2d Cir. 1986)
      (“[R]ule 11 is violated only when it is ‘patently clear that a claim has
      absolutely no chance of success.’”) (quoting Eastway Construction
      Corp. v. City of New York, 762 F.2d 243, 254 (2d Cir. 1985)), cert.
      denied sub nom. County of Suffolk v. Graseck, 480 U.S. 918, 107 S.Ct.
      1373, 94 L.Ed.2d 689 (1987).

Doering v. Union Cty. Bd. of Chosen Freeholders, 857 F.2d 191, 194 (3d Cir. 1988).

      Consistent with this stringent view of Rule 11 sanctions, it is also clear that:

      Rule 11 sanctions are based on “ ‘an objective standard of
      reasonableness under the circumstances.’ ” Id. at 453 n. 3 (quoting
      Mary Ann Pensiero, Inc. v. Lingle, 847 F.2d 90, 94 (3d Cir.1988)). Bad
      faith is not required. Id.; Jones, 899 F.2d at 1358.” Martin v. Brown, 63
      F.3d 1252, 1264 (3d Cir.1995). Furthermore, it is well-settled under
      Rule 11 that: “Sanctions are to be applied only ‘in the “exceptional
      circumstance” where a claim or motion is patently unmeritorious or
      frivolous.’ Doering v. Union County Bd. of Chosen Freeholders, 857
      F.2d 191, 194 (3d Cir.1988) (citation omitted). Rule 11's ‘primary
      purpose is not “wholesale fee shifting but [rather] correction of
      litigation abuse .’ ” Id. (alteration in original) (citation omitted). It ‘must
      not be used as an automatic penalty against an attorney or party
      advocating the losing side of a dispute,’ and it ‘should not be applied to
      adventuresome, though responsible, lawyering which advocates
      creative legal theories.’ Mary Ann Pensiero, Inc. v. Lingle, 847 F.2d
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      90, 94 (3d Cir.1988) (citation omitted).” Ario v. Underwriting
      Members of Syndicate 53 at Lloyds for 1998 Year of Account, 618 F.3d
      277, 297 (3d Cir.2010).

United States v. Bogart, No. 4:12-CV-347, 2014 WL 7466598, at *2 (M.D. Pa. Dec.

8, 2014). “Moreover, the guiding purpose in fixing Rule 11 sanctions is fashioning

a sanction adequate to deter undesirable future conduct.” DiPaolo v. Moran, 407

F.3d 140, 146 (3d Cir. 2005). Therefore, when considering a sanctions motion, it is

clear that “the main purpose of Rule 11 is to deter, not to compensate.” Id. at 145

(citing Zuk v. E. Pennsylvania Psychiatric Inst. of the Med. Coll. of Pennsylvania,

103 F.3d 294, 301 (3d Cir. 1996)). Further, “[t]he language of Rule 11 evidences the

critical role of judicial discretion” in making sanctions determinations. Id. (quoting

Doering, 857 F.2d at 194). This discretion extends both to the decision to

impose sanctions, and the determination of what an appropriate sanction may be. Id.

      When presented with a request to sanction a pro se litigant like Miller some

additional prudential considerations come into play. In this setting:

      Although a pro se complaint is held to less stringent standards than a
      complaint drafted by a lawyer, Haines v. Kerner, 404 U.S. 519, 520
      (1971), pro se parties are not excused from the requirements of Rule
      11. Nevertheless, the court may take a party's pro se status into account
      when considering Rule 11 sanctions. Vukadinovich v. McCarthy, 901
      F.2d 1439, 1445 (7th Cir.1990).




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Asanov v. Davidson, No. CIV.A.1:06-CR-0611, 2007 WL 1140632, at *6 (M.D. Pa.

Apr. 17, 2007).

      Thus, “caselaw construing Rule 11 sanctions is marked by a single

overarching principle; namely, when in doubt, one should decline to sanction

parties.” McCarthy v. Minnesota Laws. Mut. Ins. Co., No. 3:23-CV-450, 2023 WL

4636889, at *4 (M.D. Pa. July 19, 2023).

      Guided by these benchmarks, while we deem Miller’s conduct, and

particularly his purported behavior in other legal forums following the dismissal of

this case, as both highly problematic and potentially sanctionable, we will decline to

impose monetary sanctions on Miller in this case at this time. We adopt this course

mindful of the fact that Rule 11 sanctions are the exception rather than the rule and

Miller is a pro se litigant whose misguided zeal appears to far exceed his legal

acumen. While this does not excuse potentially sanctionable misconduct by a pro se

litigant, it does explain his persistence in pursuing idiosyncratic, and often meritless

claims. Miller is admonished to proceed cautiously in the future and the failure to

exercise due care may have consequences for the plaintiff in future litigation.

Further, we note that, in our view, the most significant litigation misconduct alleged

by the defendants has now occurred in other courts following our dismissal of this

complaint. Given these circumstances, we believe that we should defer to those

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courts regarding whether this conduct merits action under Rule 11, while making it

unmistakably clear to Miller that he may not reprise these allegations in this Court

without facing the prospect of Rule 11 sanctions.

      An appropriate order follows.


                                Martin C. Carlson
                                Martin C. Carlson
                                United States Magistrate Judge

DATED: March 3, 2025




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                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL MILLER,                         :        Civ. No. 1:24-CV-14
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      Plaintiff,                        :        (Judge Wilson)
                                        :
      vs.                               :        (Magistrate Judge Carlson)
                                        :
LANCASTER COUNTY, et al.,               :
                                        :
      Defendants.                       :

                                      ORDER


      AND NOW this 3d day of March 2025, in accordance with the accompanying

Memorandum Opinion, IT IS ORDERED that the defendants’ motions for sanctions,

(Docs. 48 and 67) are DENIED but Miller is placed on notice that, absent the reversal

of our prior decision, in our view further efforts to relitigate these claims in this

Court may likely subject the plaintiff to sanctions.



                                 Martin C. Carlson
                                 Martin C. Carlson
                                 United States Magistrate Judge




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